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__________________________________________________________________
                                             SO ORDERED,



                                            Judge Neil P. Olack
                                            United States Bankruptcy Judge
                                            Date Signed: March 15, 2019

             The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________




                       UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF MISSISSIPPI


IN RE:

       ALEXANDER SEAWRIGHT                                             CASE NO: 19-00217-NPO
       TRANSPORTATION, LLC,

              DEBTOR.                                                              CHAPTER 11

Alexander Seawright Transportation, LLC, Debtor
Craig M. Geno, Esq., Counsel for the Debtor




                                ORDER TO SHOW CAUSE

       YOU ARE HEREBY ORDERED TO APPEAR on April 4, 2019, at 10:00 a.m. in the

Thad Cochran U.S. Courthouse, Bankruptcy Courtroom, Room 4C, 501 East Court Street,

Jackson, Mississippi, to show cause why the above-styled case should not be dismissed for

failure to comply with the Court’s Notice of Deficiency (the “Notice”) (Dkt. #67) issued on

February 21, 2019.
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       If you do not want the Court to dismiss your case based on your failure to comply with

the Notice, or if you want the Court to consider your views on why your case should not be

dismissed, you or your attorney must file a written response explaining your position so that the

Court receives it on or before March 29, 2019.         Attorneys and Registered Users of the

Electronic Case Filing (ECF) system should file any response using ECF. Others should mail

any written response to the Court for filing at the Thad Cochran U.S. Courthouse, 501 East Court

Street, Suite 2.300, Jackson, Mississippi, 39201.   If you file a response, you or your attorney

are required to attend the hearing scheduled to be held on April 4, 2019. The hearing will be

electronically recorded by the Court.

       If you or your attorney do not take these steps, the Court may decide that you do not

oppose the dismissal of your case. If no written response is filed and you fail to comply with the

Notice before March 29, 2019, the Court may enter an order dismissing the case before the

hearing date.

                                        ##END OF ORDER##
